     Case: 4:15-cv-00086-DMB-JMV Doc #: 28 Filed: 04/27/16 1 of 1 PageID #: 255



                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION

EDWARD DALON, Surviving Spouse and                                                   PLAINTIFF
Administrator of the Estate of Judy L.
Dalon, Deceased

V.                                                              NO. 4:15-CV-00086-DMB-JMV

RULEVILLE NURSING AND
REHABILITATION CENTER, LLC                                                         DEFENDANT


                                              ORDER

       On April 26, Ruleville Nursing and Rehabilitation Center, LLC, filed a Joint Stipulation

of Dismissal signed by all parties, stipulating to dismissal of this action without prejudice. Doc.

#27. The parties represent that the dismissal is to allow for submission of Plaintiff’s claims to

binding arbitration. Id. Accordingly, the Clerk of Court is DIRECTED to close this case on the

Court’s docket. The Court retains jurisdiction to enforce the decision of the arbitrator or enforce

any settlement reached between the parties.

       SO ORDERED, this 27th day of April, 2016.


                                                     /s/ Debra M. Brown
                                                     UNITED STATES DISTRICT JUDGE
